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                                                                12
LEONARD CARDER, LLP




                                                                     DEAN ALEXANDER, et. al. , on behalf of  )                  Case No: 3:05-cv-38 EMC
                                OAKLAND, CA 94612




                                                                13
    ATTORNEYS




                                                                     themselves and all others similarly situated,
                                                                                                             )
                                                                                                             )                  [PROPOSED] ORDER GRANTING
                                                                14
                                                                                 Plaintiffs,                 )                  PLAINTIFFS REQUEST TO LIFT
                                                                15                                           )                  THE SEALING ORDER ENTERED
                                                                     vs.                                     )                  APRIL 28, 2016 (Doc. 233)
                                                                16                                           )                  PERTAINING TO DOCUMENTS
                                                                     FEDEX GROUND PACKAGE SYSTEM, INC. )                        232, 234 AND 246
                                                                17   et. al.,                                )
                                                                                                             )
                                                                18
                                                                                 Defendant.                  )
                                                                19   _______________________________________ )

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                                                                21          This matter is before the Court pursuant to the Administrative Motion of Plaintiffs to lift

                                                                22   the sealing order entered by this Court on April 28, 2016. Good cause appearing, the request is

                                                                23   GRANTED. The Clerk of Court is directed to file the unredacted versions of Documents 233 and

                                                                24   234 along with this Court’s Final Approval Order entered June 15, 2016at Document 246.

                                                                25          IT IS SO ORDERED.                                                 TE
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                                                                                                                     The Honorable Edward
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                                                                27                                                   UNITED STATES        DISTRICT    . Chen JUDGE
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                                                                     PROPOSED ORDER GRANTING REQUEST TO LIFT SEAL                                                          Case No. 3:05-CV-38 EMC
